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                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF RHODE ISLAND



 STATE OF COLORADO, et al.,                              Case No.

                        Plaintiffs,                      DECLARATION OF DR.
                                                         BARBARA FERRER IN
        v.                                               SUPPORT OF PLAINTIFFS’
                                                         MOTION FOR A TEMPORARY
 U.S. DEPARTMENT OF HEALTH                               RESTRAINING ORDER
 AND HUMAN SERVICES, et al.,
              Defendants.

        I, Dr. Barbara Ferrer, declare as follows:

        1.      I am the Director of the Los Angeles (“LA”) County Department of Public Health

 (“DPH”). DPH protects health, prevents disease, and promotes the well-being of LA County’s

 more than 10 million residents. In this role, I oversee a budget of $1.7 billion and direct a

 workforce of 5,500 public health practitioners. I have over 30 years of professional experience

 as a philanthropic strategist, public health director, educational leader, and community advocate.

 Prior to joining DPH in 2017 as Director, I served as the Executive Director of the Boston Public

 Health Commission. The facts stated herein are of my own personal knowledge, and I could and

 would competently testify to them.

        2.      I submit this declaration in support of Plaintiffs’ motion for a temporary

 restraining order.

        Background on DPH

        3.      With a population larger than Switzerland, LA County is the most populous

 county in the nation and is one of the country’s most diverse local public health jurisdictions.

 DPH is the leading public health authority in LA County and, in this role, works very closely


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 with all communities to promote population health and disease prevention by marshaling a

 network of public health professionals, Community Based Organizations, health care providers,

 and other partners. In addition, DPH provides critically needed directly operated services

 including immunizations and testing services as well as treatment for sexually transmitted

 diseases and tuberculosis through its network of thirteen community health clinics; provides both

 care management services and other support to children with special healthcare needs and their

 families; delivers neuro-rehabilitative care through its network of 23 school-based clinical-rehab

 clinics; provides substance abuse treatment and prevention programs; and connects children and

 families to needed programs and benefits provided by other agencies. DPH is also the lead

 County entity for chronic and communicable disease control, public health emergency

 preparedness and response, environmental health, and HIV/AIDS programs. DPH directly

 serves millions of County residents each year through its various programs and services.

        4.      DPH works very closely with all communities to promote population health and

 respond to public health emergencies. In partnership with health care providers, DPH manages

 the responsibilities of disease surveillance, mitigation of transmission, and support for recovery

 and prevention of infectious disease transmission.

        5.      Los Angeles County is home to nearly 100 acute care hospitals, 70 emergency

 departments, approximately 200 dialysis units, and over 300 skilled nursing facilities. LA

 County DPH is especially experienced and adept at developing surveillance systems to

 effectively detect cases of emerging diseases and analyzing and reporting surveillance data.

 During the COVID-19 pandemic, it was evident that there was inadequate surge capacity and

 limited capacity for infectious disease detection, prevention, and mitigation.




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        6.      Improving capacity to prevent and mitigate transmission of infectious disease is

 essential because having a large, highly mobile, and complex location and population makes Los

 Angeles County especially prone to emerging infectious diseases and outbreaks. It is a major

 hub for international travel and a port of entry with roughly 55 million travelers passing through

 LAX alone (United States’s third busiest airport). Due to this, as well as its proximity to the

 border, LA is especially likely to face continuing risk of emergence of Dengue, Chikungunya,

 and Zika Viruses, as well as resurgences of diseases such as COVID-19 and measles. With the

 large influx of people from varying locations, Los Angeles County is ground zero for the

 nation’s challenges as they pertain to public health. Los Angeles County has been a prominent

 role model in the detection and control of many communicable diseases that posed a significant

 threat to public health in the past, including Ebola, Zika, MERS, SARS, and COVID-19. Los

 Angeles County has been able to do that in part because of its public health infrastructure.

        DPH’s Funding through the Epidemiology and Laboratory Capacity for Infectious

        Diseases Funding Opportunity

        7.      In order to provide that infrastructure, DPH has relied on grant funding, including

 grants from the Department of Health and Human Services (“HHS”) and the Centers for Disease

 Control and Prevention (“CDC”). One such source of grant funding is the CDC’s Epidemiology

 and Laboratory Capacity for Infectious Diseases (“ELC”) funding opportunity. Since 1995, the

 ELC grant has been a critical component of Los Angeles County’s funding to ensure all

 members of the Los Angeles community have access to essential public health services and helps

 ensure the continued stability and development of the LA County public health infrastructure.

 ELC funding goes towards four major sectors of Los Angeles public health system:

 epidemiology, laboratory development, infectious disease detection, and long-term public health



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 laboratory sustainability. The grant primarily supports a specialized workforce that can provide

 infectious disease surveillance and outbreak investigation including field work, data work, and

 laboratory work. It also supports the data systems, software, and clinical and laboratory supplies

 and equipment as well as necessary training and education for those staff as well as education

 materials for the public and resources to make data available to the communities. With the funds

 from these grants, LA County DPH conducts genetic sequencing, investigates outbreaks of

 highly contagious diseases, surveils and intervenes in foodborne and waterborne illnesses,

 monitors and works to stop healthcare-associated infections, and studies and combats antibiotic

 resistance. In particular, DPH used this funding to support respiratory virus monitoring, and

 testing and response. In addition to supporting the public health work, this funding was essential

 to put into motion much needed modernization of data systems during the pandemic; the initial

 improvements achieved so far helped California fill gaps in its existing public health

 infrastructure, including ongoing response to COVID-19 disease and other respiratory diseases

 that require similar resources. During the COVID-19 emergency, it was necessary to place all

 available resources into maintaining and sharing COVID data systems, which represented a

 massive and unprecedented influx of data. Now, we must complete the modernization of those

 data systems to ensure DPH is adequately prepared for the next emergency—whether that

 emergency is measles, H5 bird flu or some new emerging infection. With the abrupt termination

 of the ELC grant, this data modernization will be disrupted mid-stream and rendered incomplete,

 leaving DPH and LA County unprepared for public health emergencies. These systems are

 essential for effectively tracking infectious diseases, sharing information with healthcare

 providers and patients in a timely manner, and implementing protective measures to safeguard

 our communities. The COVID pandemic exposed significant weakness in public health data



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 systems when outdated systems failed and were unable to handle the massive amount of

 information and communicate essential updates on disease spread and effectiveness of protective

 measures. The loss of funding means that current initiatives to modernize these systems are

 halted, increasing the risk of repeated failures during future public health emergencies and

 diminishing the value of the prior investments. Unfortunately, COVID-19, along with other

 infectious diseases, are easily transmitted in congregate settings and are associated with

 significant illness that leads to disruptions to work and increased morbidity. DPH staff are

 currently responding to over 50 outbreaks. Because most of the outbreak team staff will be

 terminated as a result of the funding loss, DPH will not be able to respond in a timely manner, if

 at all, to outbreaks in jails, shelters, assisted living facilities and worksites. In addition, the grant

 termination, because it causes the loss of the entire mobile outreach team, results in the

 termination of community and worker safety efforts, thereby reducing knowledge of and

 adherence with infection control practices. Again, this results in increased transmission of

 infectious diseases. Restoration of the grant funding would allow us to complete the community

 and worker training efforts and assist workplaces, shelters, and congregate care facilities

 implement infection control practices to reduce the likelihood of future outbreaks.

         8.      The grant was also supporting the development of sustainable genetic sequencing

 capabilities in the laboratory. During the COVID emergency, the need to rapidly detect and

 assess genetic mutations in the virus was essential in mitigating spread and negative health

 effects of COVID. Termination of ELC funding will disrupt this important work mid-stream and

 leave unfinished the technical capability to implement genetic sequencing with the sophistication

 needed for future disease outbreaks.




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        9.      DPH has a long history with ELC funding dating back to 1995. In the year prior

 to the COVID pandemic, DPH applied for ELC funding through the CDC’s 2019 Notice of

 Funding Opportunity, and was awarded $3,990,908 for an initial term of August 1, 2019 to July

 31, 2020, which represented the first year of a 5-year cycle award. In the wake of the COVID-19

 pandemic and the United States Congress’s appropriation of additional funds for public health

 infrastructure, the CDC made additional funding available through its ELC funding opportunity,

 and DPH’s existing agreement was amended several times, most recently October 17, 2023, in

 which the CDC awarded a $650,636,747 no-cost extension in funding for projects intending to

 run through July 31, 2026.

        10.     The Department of Public Health has been in constant and complete compliance

 with the terms of the ELC award. It has met all operational and reporting requirements for the

 lifetime of the award.

        11.     On March 24, 2025, DPH received a Notice of Award letter indicating that the

 Department of Health and Human Services was, effective as of March 24, 2025, terminating any

 remaining COVID-19 funding that was part of the ELC award Los Angeles County had already

 been awarded, constituting over $45 million. I have personally read and reviewed the impact of

 this Notice of Award. Further, the Notice of Award explains that DPH’s award was terminated

 because “[t]he end of the pandemic provides cause to terminate COVID-related grants and

 cooperative agreements.”

        Impact of the Termination on DPH and LA County Residents

        12.     As a result of this termination, the Los Angeles Department of Public Health will

 lose over $45 million that the County relied upon for funding to last until the end of the




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 budgetary period in July 2026. It is estimated that approximately 110 DPH workforce members

 will need to be terminated.

        13.     DPH has been unable to obtain alternative sources of funding to offset the loss of

 this grant money.

        14.     Based on my experience overseeing DPH and knowledge of the communities that

 it serves, I anticipate that this termination will have grave impacts on (i) the health of many of

 the residents of LA County; and on (ii) the public health infrastructure LA County. All aspects

 of the LA County public health system will be impacted as a result of this funding termination:

 LA County will be forced to immediately slash significant and critical portions of services,

 infrastructure, and professionals employed in an effort to maintain its vast network on a

 substantially diminished budget.

        A. Irreparable Harm to Public Health

        15.     These cuts will directly undermine DPH’s ability to promote the well-being of all

 people in LA County. Public health strategies, including those advanced by the DPH workforce,

 can only succeed when they address the needs of entire communities. When public health

 providers are unable to deliver core services and support, they often lose their patients’ trust, and

 when patients are unable to or fear that they cannot safely access health services, the well-being

 of our communities suffers. Among the negative health-related impacts for our communities are

 worse health outcomes; increased use of emergency rooms as a method of primary health care;

 and increased prevalence of communicable and infectious diseases. I am concerned eliminating

 these funds will significantly compromise health outcomes in LA County, harm its ability to

 respond effectively to current outbreaks of infectious diseases (particularly among those most




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 vulnerable) and to future public health emergencies, resulting in higher rates of morbidity and

 mortality among LA County residents.

        16.     The termination of this grant funding will force DPH to immediately terminate

 several programs, including distributing PPE and test kits to workers and residents in congregate

 settings such as health shelters, jails, schools, group homes, worksites, and assisted living homes

 for seniors; responding to outbreaks of communicable diseases in schools, shelters, congregate

 care settings, and jails; supporting parents, students and staff with information about infection

 control practices.

        17.     One place where the broad impact of the lost funding is most apparent is the

 surveillance and control of communicable and infectious diseases. While the incidence of most

 communicable diseases can often be decreased by testing, early detection, and mitigation of

 spread, an increase in the number of individuals who experience delayed diagnosis could have a

 detrimental impact on DPH’s disease control efforts and on the health of the entire community.

 Termination of the ELC funding will likely increase the incidence of communicable and

 infectious disease case clusters and outbreaks, which will pose a serious health and safety risk to

 LA County residents and persons visiting our jurisdiction. It will also impose significant costs

 on LA County taxpayers, as DPH’s response to clusters and outbreaks of communicable disease

 requires a significant outlay of resources and money. Decrease in staffing will reduce response

 time on COVID and other respiratory outbreaks. The ELC funding termination will also delay

 the completion of the databases DPH relies upon to effectively share data and information with

 hospitals, clinics, and other community-based partners as well as with the public. Reduced

 ability to contain the spread of infectious diseases is associated with increased disruptions at

 worksites and increased transmission of dangerous diseases. Our response to an average



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 outbreak usually involves over 2 dozen staff and can last for many days, particularly when there

 are new cases associated with the initial case. This can cost hundreds of thousands of dollars.

        18.     Nursing homes were some of the hardest hit places in the pandemic nationwide.

 Starting in March of 2022, LA County DPH utilized ELC-expansion funding to provide an in-

 depth, nine-month educational program for skilled nursing facilities (SNFs) focused on

 preventing the transmission of infectious diseases, entitled Transforming Nursing Home Care

 Together, or TNT. The program utilized multiple teaching modalities: 23 sessions presented

 concepts of quality improvement and infection prevention; interactive small-group sessions

 allowed participants to share their challenges and solutions; annual in-person conferences

 allowed for networking and the development of stronger connections between SNF workers; and

 completion of an actual infection prevention within each participating SNF demonstrated their

 ability to put the learned skills into motion. Of the 340 SNFs in LA County, 270 SNFs enrolled

 in the program and 230 successfully completed it. Over 8,000 continuing education units were

 provided to over 800 SNF healthcare workers. While it is difficult to estimate the financial

 impact of a prevention-focused educational program, preventing even a small proportion of SNF-

 associated infections can result in millions of dollars of savings for the Medicare program that

 covers most SNF residents.

        19.     During the first half of 2019, DPH declared an outbreak of measles. There were

 eight confirmed cases of measles among LA County residents, and six non-resident measles

 cases that traveled through LA County. More than 100 DPH workforce members were involved

 in responding to these individual cases and conducting contact investigations. Further, efforts to

 control the spread of measles among the general population necessitated the issuance of

 approximately 1,000 quarantine orders to exposed individuals. Costs for responding to and



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 treating a case of measles can be as high as $142,000 per case; indeed, a preliminary estimate of

 LA County DPH response costs revealed that it cost approximately $27,000 per each measles

 case that transited through the Los Angeles International Airport on the way to other locations in

 the United States. For containment of disease spread, DPH needs both staff to engage in contact

 tracing and education, along with data systems that support surveillance and mitigation of

 spread. This is exactly the kind of staffing that the ELC grant helps support.

        20.     DPH has experienced considerable challenges in addressing the rising rates of

 ever-present diseases, such as tuberculosis (“TB”), as well as new and reemerging outbreaks,

 such as measles, pertussis, typhus, and West Nile Virus. In particular DPH has currently been

 preparing for a potential H5 Bird flu pandemic. H5 Bird flu has infected at least one county

 resident and many birds, cats and livestock to date, making continued surveillance and

 preparedness vital. While Los Angeles has been able to manage all of these outbreaks in the

 past, DPH’s ability to manage similar outbreaks will be significantly diminished given this loss

 of ELC funding.

        21.     In sum, I believe that the termination of funding will lead to lasting, severe health

 impacts for LA County residents. All LA County residents will suffer as a result of this decrease

 in funding: if they are not harmed by LA County’s diminished ability to prepare and manage

 communicable and infectious diseases, they will be affected by budget cuts that occur in other

 public health sectors including the handling, sharing, and presentation of public health data and

 information. DPH’s ability to safeguard the health and well-being of our communities will be

 destroyed and the impact of this will have consequences on other cities and neighboring states,

 especially to the extent that this funding termination cripples LA County’s ability to prevent the

 spread of infectious diseases.



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        B. Irreparable Harm to the Department of Public Health

        22.     In addition to all the harm that will occur to the residents of Los Angeles County

 that use and depend on the health services provided by the Department of Public Health, Los

 Angeles County employees and contractors will also experience immediate and irreparable harm

 as a result of an implementation of the award termination. As discussed above, the public health

 infrastructure in Los Angeles County is vast and—as a result—expensive. Budget cuts, layoffs,

 elimination of funding for community partners, and permanent closure of certain units will be

 necessary to respond to the termination. Responding to this inexplicable loss of approved grant

 funding will divert resources from DPH’s core mission. If the grant funds are not restored, I

 estimate DPH will have to spend hundreds of hours to formulate an appropriate response to

 compensate for this loss of funds.

        23.     All Californians deserve to live in healthy and thriving communities, which is the

 role of public health. The Los Angeles County Department of Public Health remains committed

 to seeking the resources required to support the critical, lifesaving infrastructure needed to keep

 people healthy and protect them against communicable diseases, and health emergencies.



        I declare under penalty of perjury that the foregoing is true and correct and of my own

 personal knowledge.

                     3/29/25
         EXECUTED on ___________ in Los Angeles, California.



                                                ______________________________
                                                Dr. Barbara Ferrer
                                                Director
                                                Los Angeles County Department of Public Health




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